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                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 LESLIE LEROY THOMPSON,

                        Petitioner,

 v.                                                 Civil Action No. 3:07-CV-6
                                                    Criminal Action No. 3:05-CR-21-1
 UNITED STATES OF AMERICA,                          (JUDGE BAILEY)

                        Respondent.


                         REPORT AND RECOMMENDATION
                          THAT §2255 MOTION BE DENIED
                  BECAUSE DEFENDANT WAIVED THE RIGHT TO FILE
                A COLLATERAL ATTACK INCLUDING A MOTION UNDER
                                  28 U.S.C. § 2255

                                      I. INTRODUCTION

        On January 16, 2007, pro se petitioner filed a Motion Under 28 U.S.C. § 2255 to Vacate,

 Set Aside or Correct Sentence by a Person in Federal Custody.1 The Government filed its

 response on February 16, 2007.2 Petitioner filed a reply to the Government’s response on March

 5, 2007.3

                                           II. FACTS

 A.     Conviction and Sentence

        On June 30, 2005, petitioner signed a plea agreement by which he agreed to plead guilty

 to Count 2, using a person under the age of eighteen years in a drug operation, in violation of

 Title 21, United States Code, sections 861(a)(1), 861(b)(1), and 841(b)(1)(C) and Count 5, being



        1
            Docket No. 178.
        2
            Docket No. 185.
        3
            Docket No. 186


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 a prohibited person (felon) unlawfully in possession of a firearm, in violation of Title 18, United

 States Code, sections 922(g)(1), 924(a)(2). In the plea agreement, the parties stipulated and

 agreed the total relevant conduct of petitioner was 399 grams of heroin and 3 firearms.

 Additionally, the petitioner waived his right to appeal and to collaterally attack his sentence.

 Specifically, the petitioner’s plea agreement contained the following language regarding his

 waiver:

                12.     Defendant is aware that Title 18, United States Code,
                Section 3742 affords a defendant the right to appeal the sentence
                imposed. Acknowledging all this, and in exchange for the
                concessions heretofore made by the United States in this plea
                agreement, Defendant knowingly and voluntarily waives the right
                to appeal any sentence which is within the maximum provided in
                the statute of conviction or in the manner in which that sentence
                was determined on any ground whatever, including those grounds
                set forth in Title 18, United States Code Section 3742. Defendant
                also waives his right to challenge his sentence or the manner in
                which it was determined in any collateral attack, including but not
                limited to, a motion brought under Title 28, United States Code,
                Section 2255 (habeas corpus). The United States does not waive
                its right to appeal the sentence; however, in the event that there
                would be an appeal by the United States, Defendant’s waiver
                contained in this paragraph will be voided provided Defendant
                complies with the provisions of Rule 46(b)(1)(A)(ii) of the Federal
                Rules of Appellate Procedure.

      On July 7, 2005, the petitioner entered his plea in open court. Petitioner was 65 years old

 and completed tenth grade and obtained his GED. (Plea transcript p. 4). Petitioner stated he

 understood and agreed with all the terms and conditions of the plea agreement. (Id. at 10). The

 Court specifically asked if petitioner understood the waiver of appellate and post-conviction

 relief rights. (Id. at 10).   The Court asked petitioner’s counsel if he believed petitioner

 understood the waiver of appellate and post-conviction relief rights. (Id. at 10). The Court then

 reviewed all the rights petitioner was giving up by pleading guilty. (Id. at 18 - 20). During the

 plea hearing, the Government presented the testimony of Doug Dean, Special Agent with the



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 Bureau of Alcohol, Tobacco, Firearms, and Explosives, to establish a factual basis for the plea.

 (Id. at 20 - 25).

       After the Government presented the factual basis of the plea, the petitioner advised the

 Court that he was guilty of Count 2 and 5 of the indictment. (Id. at 26). The petitioner further

 stated under oath that no one had attempted to force him to plead guilty, and that he was

 pleading guilty of his own free will. (Id. at 27). In addition, he testified that the plea was not the

 result of any promises other than those contained in the plea agreement. (Id. at 27). The

 petitioner testified that his attorney had adequately represented him, and that his attorney had left

 nothing undone. (Id. at 26 - 27). Finally, petitioner said he was in fact guilty of the crime to

 which he was pleading guilty. (Id. at 27).

       At the conclusion of the hearing, the Court determined that the plea was made freely and

 voluntarily, that the petitioner understood the consequences of pleading guilty, and that the

 elements of the crime were established beyond a reasonable doubt. (Id. at 28). The petitioner

 did not object to the Court’s finding.

         On January 18, 2006 the petitioner appeared before the Court for sentencing. After

 considering several factors, including the circumstances of both the crime and the defendant and

 the sentencing objectives of punishment, the Court sentenced the petitioner to a term of 188

 months imprisonment.

 B.      Appeal

         On January 30, 2006, petitioner filed a Notice of Appeal. On July 10, 2007, the Fourth

 Circuit Court of Appeals affirmed the District Court’s judgment.




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 C.     Federal Habeas Corpus

        Petitioner contends in ground one his counsel was ineffective and his plea was

 involuntary because he was assured by his counsel he would receive no more than 6-8 years if he

 entered a plea. Petitioner contends in ground two his counsel was ineffective and his conviction

 on count 5 was obtained in violation of his Fifth Amendment right against self-incrimination.

 Petitioner contends in ground three he was denied effective assistance of counsel because his

 counsel failed to object to portions of the Pre-Sentence Investigation Report.

        The Government asserts counsel’s erroneous advice as to petitioner’s sentence is not

 ineffective assistance of counsel. The Government also asserts petitioner waived his Fifth

 Amendment right against self-incrimination by voluntarily speaking with the Bureau of Alcohol,

 Tobacco, Firearms, and Explosives while in custody.              Finally, the Government asserts

 petitioner’s counsel was not ineffective in failing to object to portions of the Pre-Sentence

 Investigation Report.

 D.     Recommendation

        Based upon a review of the record, the undersigned recommends that the petitioner’s

 §2255 motion be denied and dismissed from the docket because petitioner knowingly,

 intelligently, and voluntarily waived the right to collaterally attack the conviction.

                                           III. ANALYSIS

        “[T]he guilty plea and the often concomitant plea bargain are important components of

 this country’s criminal justice system. Properly administered, they can benefit all concerned.”

 Blackledge v. Allison, 431 U.S. 63, 71 (1977). However, the advantages of plea bargains “can

 be secure . . . only if dispositions by guilty plea are accorded a great measure of finality.” Id.




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 “To this end, the Government often secures waivers of appellate rights from criminal defendants

 as part of their plea agreement.” United States v. Lemaster, 403 F.3d 216, 220 (4th Cir. 2005).

        In United States v. Attar, 38 F.3d 727, 731 (4th Cir. 1994), the Fourth Circuit found that

 “a waiver-of-appeal-rights provision in a valid plea agreement is enforceable against the

 defendant so long as it is the result of a knowing and intelligent decision to forgo the right to

 appeal.” The Fourth Circuit then found that whether a waiver is knowing and intelligent

 “depends upon the particular facts and circumstances surrounding [its making], including the

 background, experience, and conduct of the accused.” Id. After upholding the general validity

 of a waiver-of-appeal-rights provision, the Fourth Circuit noted that even with a waiver-of-

 appeals-rights provision, a defendant may obtain appellate review of certain limited grounds. Id.

 at 732. For example, the Court noted that a defendant “could not be said to have waived her

 right to appellate review of a sentence imposed in excess of the maximum penalty provided by

 statute or based on a constitutionally impermissible factor such as race.” Id. Nor did the Court

 believe that a defendant “can fairly be said to have waived his right to appeal his sentence on the

 ground that the proceedings following the entry of the guilty plea were conducted in violation of

 the Sixth Amendment right to counsel.” Id.

        Subsequently, in Lemaster, the Fourth Circuit saw no reason to distinguish between

 waivers of direct appeal rights and waivers of collateral attack rights. Lemaster, 403 F.3d at 220.

 Therefore, like the waiver-of-appeal-rights provision, the Court found that the waiver of the right

 to collaterally attack a sentence is valid as long as it is knowing and voluntary. Id. And,

 although the Court expressly declined to address whether the same exceptions apply since

 Lemaster failed to make such an argument, the court stressed that it “saw no reason to




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 distinguish between waivers of direct-appeal rights and waivers of collateral-attack rights.” Id.

 at n. 2.

            Based on these cases, it appears that ineffective assistance of counsel claims are barred

 by a valid waiver, to the extent that the facts giving rise to the claims occurred prior to the

 defendant entering his guilty plea. Only claims arising after the entry of the guilty plea may fall

 outside the scope of the waiver. Attar, 38 F.3d at 732 [holding it cannot be fairly said that a

 defendant “waived his right to appeal his sentence on the ground that the proceedings following

 entry of the guilty plea were conducted in violation of the Sixth Amendment right to counsel, for

 a defendant’s agreement to waive appellate review of his sentence is implicitly conditioned on

 the assumption that the proceedings following entry of the plea will be conducted in accordance

 with constitutional limitations”].

            Therefore, when reviewing an ineffective assistance of counsel claim in a case where

 there is a waiver of collateral-attack rights in a plea agreement, we must first determine whether

 there is valid waiver. In doing so,

            The validity of an appeal waiver depends on whether the defendant
            knowingly and intelligently agreed to waive the right to appeal. Although
            this determination is often made based on adequacy of the plea colloquy --
            specifically, whether the district court questioned the defendant about the
            appeal waiver – the issue ultimately is evaluated by reference to the
            totality of the circumstances. Thus, the determination must depend, in
            each case, upon the particular facts and circumstances surrounding that
            case, including the background, experience, and conduct of the accused.

 United States v. Blick, 408 F.3d 162, 169 (4th Cir. 2005) (internal citations and quotations

 omitted).

            In other words, the Court must examine the actual waiver provision, the plea agreement

 as a whole, the plea colloquy, and the defendant’s ability to understand the proceedings. Id. If




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 the Court finds that the waiver is valid, any IAC claims arising prior to the plea agreement are

 barred by the waiver.

        As to any IAC claims made regarding an attorney’s action, or lack thereof, after the plea

 agreement, the Fourth Circuit has stated the right to challenge a sentence on the ground that “the

 proceedings following entry of the guilty plea – including both the sentencing hearing itself and

 the presentation of the motion to withdraw their pleas – were conducted in violation of their

 Sixth Amendment right to counsel” are not waived by a general waiver of appeal rights

 contained in the plea agreement. Attar, 38 F.3d at 732-33. Therefore, upon first blush it appears

 that IAC claims arising after the guilty plea and/or during sentencing are not barred by a general

 waiver-of appeal rights.

        Several courts have distinguished IAC claims raised in a § 2255 case from those raised

 on direct appeal. In Braxton v. United States, 358 F. Supp. 2d 497 (W.D.Va. 2005), the Court

 noted that although the Fourth Circuit has yet to define the scope of waiver of collateral rights,

 several courts have held that § 2255 waivers should be subject to the same conditions and

 exceptions applicable to waivers of the right to file a direct appeal. Braxton at 502 (citing

 United States v. Cannady, 283 F.3d 641,645 n. 3 (4th Cir. 2000) (collecting cases); Butler v.

 United States, 173 F. Supp. 2d 489, 493 (E.D.Va. 2001)). Nonetheless, the Court distinguished

 the types of IAC claims available on direct appeal from those available in a § 2255 motion.

 Specifically, the Court noted:

                       Appellate courts rarely hear ineffective assistance of
                counsel claims on direct review. Indeed, ‘[i]t is well settled that a
                claim of ineffective assistance should be raised in a 28 U.S.C. §
                2255 motion in the district court rather than on direct appeal,
                unless the record conclusively shows ineffective assistance.’
                United States v. King, 119 F.3d 290, 295 (4th Cir. 1997).
                Therefore, the waiver exception recognized in Attar applies only to
                a very narrow category of cases. In contrast, a rule that defendants



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                are unable to waive their right to bring an ineffective assistance
                claim in a § 2255 would create a large exception to the scope of §
                2255 waivers. In fact, such an exception would render all such
                waivers virtually meaningless because most habeas challenges can
                be pressed into the mold of a Sixth Amendment claim on collateral
                review. The Fifth Circuit has recognized this dynamic by noting
                that ‘[i]f all ineffective assistance of counsel claims were immune
                from waiver, any complaint about process could be brought in a
                collateral attack by merely challenging the attorney’s failure to
                achieve the desired result. A knowing and intelligent waiver
                should not be so easily evaded.’ United States v. White, 307 F.3d
                336, 344 (5th Cir. 2002).

 Braxton, 358 F. Supp. 2d at 503.

        The Court in Braxton further noted that the Tenth Circuit has also distinguished

 collateral-attack waivers from the situation in Attar and that the Fourth Circuit’s holding in

 United States v. Broughton-Jones, 71 F.3d 1143,1147 (4th Cir. 1995) also supports such a

 distinction. Braxton, 358 F. Supp. 2d at 503, n. 2. Finally, the Braxton Court found it persuasive

 that the majority of circuits to have confronted this question “have held that collateral attacks

 claiming ineffective assistance of counsel that do not call into question the validity of the plea or

 the § 2255 waiver itself, or do not relate directly to the plea agreement or the waiver, are

 waivable.” Id. at 503. (collecting cases).

        The recent unpublished decision United States v. Morris, No. 07-4223, slip op. (4th Cir.

 Sept. 13, 2007) indicates that when the district court conducts a thorough Rule 11 colloquy and

 the defendant specifically mentions he waives the right to appeal any sentence below the

 statutory maximum, the record established that defendant made a knowing and voluntary waiver

 of rights. Similarly here, the district court conducted a Rule 11 colloquy and the petitioner

 mentioned he waived his right to appeal any sentence below 240 months. (Tr. 16, 25).

 Petitioner waived his right to collaterally attack the sentence if his sentence was 240 months or




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 less. (Plea agreement paragraphs 10). His sentence was 151 months imprisonment. The only

 reasonable conclusion is petitioner waived the right to collaterally attack the guilty plea.

                                       IV. Recommendation

        Based upon a review of the record, the undersigned recommends that the petitioner’s

 §2255 motion be denied and dismissed from the docket because petitioner knowingly,

 intelligently, and voluntarily waived the right to collaterally attack the conviction.

        Within ten (10) days after being served with a copy of this report and recommendation,

 any party may file with the Clerk of Court written objections identifying those portions of the

 recommendation to which objection is made and the basis for such objections. A copy of any

 objections shall also be submitted to the Honorable John Paul Bailey, United States District

 Judge. Failure to timely file objections to this recommendation will result in waiver of the right

 to appeal from a judgment of this Court based upon such recommendation. 28 U.S.C. §

 636(b)(1); Thomas v. Arn, 474 U.S. 140 (1985); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985):

 United States v. Schronce, 727 F.2d 91 (4th Cir. 1984), cert. denied, 467 U.S. 1208 (1984).

        The Clerk is directed to mail a copy of this Report and Recommendation to the pro se

 plaintiff and counsel of record, as applicable.



        DATED: April 1, 2008



                                                       /s/ James E. Seibert
                                                       JAMES E. SEIBERT
                                                       UNITED STATES MAGISTRATE JUDGE




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